               Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 1 of 6
Motion for Detention Pending Trial



                                     UNITED STATES DISTRICT COURT

                                        DISTRICT OF CONNECTICUT

       UNITED STATES OF AMERICA                          )
                                                         )
                        V.                               )        Case No.
                                                         )
       JOHN GRIFFIN                                      )



                             MOTION FOR DETENTION PENDING TRIAL

                                        Part I - Eligibility for Detention

The United States respectfully moves for pretrial detention pursuant to:

■
ޭ 18 U.S.C. § 3142(f)(1) because the case involves–

        ޭ (A) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18

            U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is

            prescribed;

        ޭ (B) an offense for which the maximum sentence is life imprisonment ordeath;

        ޭ (C) an offense for which a maximum term of imprisonment of ten years or more is prescribed

            in the Controlled Substances Act (21 U.S.C. § 801 et seq.), the Controlled Substances Import

            and Export Act (21 § 951 et seq.), or Chapter 705 of Title 46;

        ޭ (D) any felony, and the defendant has been convicted of two or more offenses described in

            subparagraphs (A) through (C) of this paragraph, or two or more State or local offenses that

            would have been offenses described in subparagraphs (A) through (C) of this paragraph if a

            circumstance giving rise to Federal jurisdiction had existed, or a combination of such

            offenses;

        ■
        ޭ (E) any felony that is not otherwise a crime of violence that involves a minor victim or that




                                                          1
              Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 2 of 6
Motion for Detention Pending Trial



           involves the possession or use of a firearm or destructive device (as those terms are defined

           in 18 U.S.C. § 921), or any other dangerous weapon, or involves a failure to register under

           18 U.S.C. § 2250.

ޭ 18 U.S.C. § 3142(f)(2) because the case involves–
       ޭ (A) a serious risk that the defendant will flee;
       ޭ (B) a serious risk that the defendant will obstruct or attempt to obstruct justice, or threaten,
           injure, or intimidate, a prospective witness or juror.

                                 Part II - Presumptions under § 3142(e)
ޭ (A)Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a

   rebuttable presumption that no condition or combination of conditions will reasonably assure the

   safety of any other person and the community because the following conditions have been met:

           ޭ (1) the defendant is charged with one of the following crimes described in 18

               U.S.C. § 3142(f)(1):

                       ޭ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in

                           18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of

                           10 years or more is prescribed; or

                       ޭ (b) an offense for which the maximum sentence is life imprisonment or death; or

                       ޭ (c) an offense for which a maximum term of imprisonment of 10 years or

                           more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),

                           the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or

                           Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or




                                                     2
               Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 3 of 6
Motion for Detention Pending Trial



                       ޭ (d) any felony if such person has been convicted of two or more offenses

                           described in subparagraphs (A) through (C) of this paragraph, or two or more

                           State or local offenses that would have been offenses described in

                           subparagraphs (A) through (C) of this paragraph if a circumstance giving rise

                           to Federal jurisdiction had existed, or a combination of such offenses; or

                       ޭ (e) any felony that is not otherwise a crime of violence but involves: (i) a minor

                           victim; (ii) the possession of a firearm or destructive device (as defined in 18

                           U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure to register

                           under 18 U.S.C. § 2250; and

           ޭ (2) the defendant has previously been convicted of a Federal offense that is described in 18

               U.S.C.§ 3142(f)(1), or of a State or local offense that would have been such an offense if

               a circumstance giving rise to Federal jurisdiction had existed; and

           ޭ (3) the offense described in paragraph (2) above for which the defendant has been

               convicted was committed while the defendant was on release pending trial for a Federal,

               State, or local offense; and

           ޭ (4) a period of not more than five years has elapsed since the date of conviction, or the

               release of the defendant from imprisonment, for the offense described in paragraph (2)

               above, whichever is later.

■
ޭ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other

   offenses): There is a rebuttable presumption that no condition or combination of conditions will

   reasonably assure the appearance of the defendant as required and the safety of the community

   because there is probable cause to believe that the defendant committed one or more of the following

   offenses:




                                                     3
              Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 4 of 6
Motion for Detention Pending Trial



           ޭ (1) an offense for which a maximum term of imprisonment of 10 years or more is

               prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled

               Substances Import and Export Act (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46,

               U.S.C. (46 U.S.C. §§ 70501-70508);
           ޭ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

           ޭ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of
               imprisonment of 10 years or more is prescribed;

           ޭ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a
               maximum term of imprisonment of 20 years or more is prescribed; or

           ■
           ޭ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242,

               2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1),

               2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.


                                                   Part III

The United States requests that the defendant be detained, and requests that the court find:
           ■
           ޭ By clear and convincing evidence that no condition or combination of conditions of
               release will reasonably assure the safety of any other person and the community.

           ■
           ޭ By a preponderance of evidence that no condition or combination of conditions of release
               will reasonably assure the defendant’s appearance as required.

The reasons for detention include the following:
           ■
           ޭ Weight of evidence against the defendant is strong
           ■
           ޭ Subject to lengthy period of incarceration if convicted
           ޭ Prior criminal history
           ޭ Participation in criminal activity while on probation, parole, or supervision




                                                      4
              Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 5 of 6
Motion for Detention Pending Trial



           ޭ History of violence or use of weapons
           ■
           ޭ History of alcohol or substance abuse
           ޭ Lack of stable employment
           ޭ Lack of stable residence
           ޭ Lack of financially responsible sureties
           ޭ Lack of significant community or family ties to this district
           ޭ Significant family or other ties outside the UnitedStates
           ޭ Lack of legal status in the United States
            ޭ Subject to removal or deportation after serving any period of incarceration
           ޭ Prior failure to appear in court as ordered
           ޭ Prior attempt(s) to evade law enforcement
           ޭ Use of alias(es) or false documents
           ޭ Background information unknown or unverified
           ޭ Prior violations of probation, parole, or supervised release

■
ޭ OTHER REASONS OR FURTHER EXPLANATION:



    See Memorandum in Support of Motion for Detention, to be filed prior to the detention hearing.




                                                    5
              Case 3:21-mj-01197-RMS Document 1 Filed 12/10/21 Page 6 of 6
Motion for Detention Pending Trial



                                                Part IV


The United States requests that the court conduct the detention hearing:
           ޭ at the defendant’s first appearance;
           ■
           ޭ after a continuance of 3 days, to the extent not otherwise postponed because of
               defendant’s present incarceration on unrelated state charges.
                                                     Respectfully submitted,

                                                     /(21$5' & %2</(
                                                     $&7,1*UNITED       STATES ATTORNEY
                                                                Digitally signed by
                                                     ANGEL      ANGEL KRULL

                                                     KRULL      Date: 2021.12.10
                                                                11:46:17 -05'00'


                                                        ANGEL M. KRULL
                                                     ASSISTANT UNITED STATES ATTORNEY
                                                     FEDERAL BAR NO. pv11042
                                                     86$WWRUQH\ V2IILFH
                                                     1HZ+DYHQ2IILFH
                                                     &KXUFK6WUHHWWK)O
                                                     1HZ+DYHQ&7
                                                     7HOH  
  Pr                     Sae As...                   )D[            Reset


                                     CERTIFICATION OF SERVICE

A copy of this motion was served in-person to all parties on this 12/10/2021              .



                                      /s/
                                      ANGEL M. KRULL
                                      ASSISTANT UNITED STATES ATTORNEY




                                                    6
